     Case 4:21-cv-07872-HSG Document 32-3 Filed 02/04/22 Page 1 of 19




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     A Limited Liability Partnership
 2   Including Professional Corporations
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12 Attorneys for Defendant
   KAISER FOUNDATION HEALTH PLAN, INC.
13
14                         UNITED STATES DISTRICT COURT
15           NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
16 GRACE SMITH and RUSSELL                     Case No. 4:21-cv-07872-HSG
   RAWLINGS, on behalf of themselves and
17 all others similarly situated, and          DECLARATION OF ALEXANDER
   CALIFORNIA FOUNDATION FOR                   KULJIS IN SUPPORT OF KAISER
18 INDEPENDENT LIVING CENTERS, a               FOUNDATION HEALTH PLAN,
   California nonprofit corporation,           INC.’S MOTION TO COMPEL
19                                             ARBITRATION
                  Plaintiffs,
20                                             Date:         April 28, 2022
           v.                                  Time:         2:00 p.m.
21                                             Room:         2
   MARY WATANABE, in her capacity as           Judge:        Hon. Haywood S. Gilliam, Jr.
22 Director of the California Department of
   Managed Health Care; CALIFORNIA
23 DEPARTMENT OF MANAGED
   HEALTH CARE; and KAISER
24 FOUNDATION HEALTH PLAN, INC.,
25              Defendants.
26
27
28
                                           -1-                   Case No. 4:21-cv-07872-HSG
                         DECLARATION OF ALEXANDER KULJIS ISO KAISER’S MOTION TO COMPEL
                                                                             ARBITRATION
      Case 4:21-cv-07872-HSG Document 32-3 Filed 02/04/22 Page 2 of 19




 1                       DECLARATION OF ALEXANDER KULJIS
 2         I, Alexander Kuljis, declare as follows:
 3         1.     I am an attorney duly admitted to practice before this Court. I am an
 4 associate with the law firm of Sheppard, Mullin, Richter & Hampton LLP, attorneys of
 5 record for Kaiser Foundation Health Plan, Inc. (“Kaiser”) in this action. If called as a
 6 witness, I could and would competently testify to all facts within my personal knowledge
 7 except where stated upon information and belief. I make this declaration in support of
 8 Kaiser’s Motion to Compel Individual Arbitration and Stay Proceedings.
 9         2.     Attached hereto as Exhibit A is a true and correct copy of a letter sent by my
10 colleague Moe Keshavarzi to Plaintiffs’ counsel requesting arbitration of Plaintiffs’ claims.
11         3.     Plaintiffs’ counsel have not yet responded to the letter.
12
13         I declare under the penalty of perjury under the laws of the United States of
14 America that the foregoing is true and correct.
15
16         Executed on this 4th day of February, 2022, at Los Angeles, California.
17
18                                                 /s/ Alexander Kuljis
                                                   Alexander Kuljis
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                                              -2-                   Case No. 4:21-cv-07872-HSG
                            DECLARATION OF ALEXANDER KULJIS ISO KAISER’S MOTION TO COMPEL
                                                                                ARBITRATION
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                      Exhibit A
                               3
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                                                                     mkeshavarzi@sheppardmullin.com
February 3, 2022


VIA E-MAIL AND U.S. MAIL

Claudia Center                                    Ernest Galvan
Silvia Yee                                        Michael S. Nunez
Carly A. Myers                                    ROSEN BIEN GALVAN & GRUNFELD LLP
Disability Rights Education and Defense Fund      101 Mission Street, Sixth Floor
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Berkeley, California 94703                        E-Mail: egalvan@rbgg.com
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        syee@dredf.org
        cmyers@dredf.org

Re:    Smith, et al., v. DMHC, et al., Case No. 4:21-cv-07872


Dear Counsel:

As you know, we represent Defendant Kaiser Foundation Health Plan, Inc. (“Kaiser”) in defense
against the claims filed by your clients Grace Elizabeth Smith and Russell Rawlings. Consistent
with Plaintiffs’ arbitration agreements, we write now to demand that Plaintiffs stipulate to
arbitrate their disputes and to stay the court action pending arbitration.

Plaintiffs Agreed To Binding Arbitration

Ms. Smith has been a Kaiser member since 2017. In 2017, and in each year since, Ms. Smith
agreed to a membership agreement, including a health plan and evidence of coverage (“EOC”).
Every one of Ms. Smith’s EOCs since 2017 has included a binding arbitration provision.
Additionally, in her enrollment application in 2017, Ms. Smith agreed to binding arbitration for
disputes “arising out of or related to membership in KFHP, including any claim . . . relating to the
coverage for, or delivery of, services or items, irrespective of legal theory.”

The binding arbitration provision of Ms. Smith’s EOC similarly requires Ms. Smith to submit to
binding arbitration any claim that “arises from or is related to an alleged violation of any duty
incident to or arising out of or relating to this EOC or a Member Party’s relationship to Kaiser
Foundation Health Plan, Inc. (“Health Plan”), including any claim . . . relating to the coverage for,
or delivery of, services or items, irrespective of the legal theories upon which the claim is
asserted.” Excerpts from Ms. Smith’s EOC for 2021, including the binding arbitration provision,
are attached for your reference.

Mr. Rawlings has been a Kaiser member since 2020. In 2020, and each year since, Mr.
Rawlings agreed to a membership agreement, including a health plan and EOC. Every one of
Mr. Rawlings’ EOCs since 2020 has included a binding arbitration provision. Additionally, in his



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Claudia Center
February 3, 2022
Page 2


enrollment application in 2020, Mr. Rawlings agreed to binding arbitration for disputes “arising
out of or related to membership in the Health Plan, including any claim . . . relating to the
coverage for, or delivery of, services or items, irrespective of legal theory. . . .”

The binding arbitration provision of Mr. Rawlings’ EOC similarly requires Mr. Rawlings to submit
to binding arbitration any claim that “arises from or is related to an alleged violation of any duty
incident to or arising out of or relating to this EOC or a Member Party’s relationship to Kaiser
Foundation Health Plan, Inc. (“Health Plan”), including any claim . . . relating to the coverage for,
or delivery of, services or items, irrespective of the legal theories upon which the claim is
asserted.” Excerpts from Mr. Rawlings EOC for 2021, including the binding arbitration
provision, are attached for your reference.

The Arbitration Provisions Apply to Plaintiffs’ Claims Here

Plaintiffs are Kaiser members that allege that Kaiser’s coverage limitations for wheelchair costs
violate Section 1557 of the Affordable Care Act and ERISA. Therefore, both claims in Plaintiffs’
First Amended Complaint undeniably arise from and relate to coverage for, or delivery of,
services or items.

For these reasons, Kaiser demands that both Ms. Smith and Mr. Rawlings submit their disputes
to binding arbitration under the terms of their membership agreements. Please let us know
whether Plaintiffs will stipulate to submit these matters to arbitration as agreed. If not, Kaiser
will proceed with its motion to compel arbitration.

We look forward to hearing from you.

Sincerely,



Moe Keshavarzi
for SHEPPARD, MULLIN, RICHTER & HAMPTON LLP



Enclosure




                                                 5
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•••
�''� KAISER PERMANENTE®
Kaiser Foundation Health Plan, Inc.
Northern California Region

A nonprofit corporation



EOC #5 - Kaiser Permanente for Small Business
Combined Evidence of Coverage and Disclosure Form for
THROUGH THE LOOKING GLASS

Kaiser Permanente Gold 80 HMO 500/30 + Child Dental Alt
Group ID: 718772 EOC Number: 5




December 1, 2020, through November 30, 2021




                                          Member Service Contact Center
                                          24 hours a day, seven days a week (except closed holidays)
                                          1-800-464-4000 (TTY users call 711)
                                          kp.org




                                       Attachment A
                                                 6
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                         Attachment B



                                13
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